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    8                                    UNITED STATES DISTRICT COURT
    9                                           DISTRICT OF OREGON
   10                                           PORTLAND DIVISION
   11

   12    BANETTE PROPERTIES, LLC, an Oregon
         limited liability company,
   13
                           Plaintiff,                            Case No.
   14
                  v.                                             COMPLAINT [Declaratory Relief;
   15                                                            Breach of Contract]
         AMCO INSURANCE COMPANY, a foreign
   16    company,                                                DEMAND FOR JURY TRIAL ON ALL
                                                                 ISSUES TRIABLE BY JURY
   17                      Defendant.
   18

   19

   20             For its complaint against defendant, plaintiff alleges as follows:

   21             1.       Plaintiff Banette Properties LLC (“Banette”) is an Oregon limited liability

   22    company.

   23             2.       AMCO Insurance Company issued a general liability policy to Banette as an

   24    insured. AMCO is an Iowa insurance company that was, and is, authorized to issue insurance

   25    policies in Oregon.

   26             3.       In March 2015, a lawsuit was filed against Banette, styled as Jefe, Inc. v. Banette

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    1    Properties, Inc., Multnomah County Case No. 15CV07401 (the “Underlying Litigation”),1

    2    seeking damages of no less than $200,000.

    3             4.       Banette timely tendered defense of the Underlying Litigation to AMCO.

    4             5.       AMCO denied coverage and refused to defend Banette in the Underlying

    5    Litigation.

    6             6.       This Court has jurisdiction over the subject matter of this action pursuant to 28

    7    U.S.C. §1332(a), because there is complete diversity of citizenship between the parties. The

    8    amount in controversy exceeds the sum of $75,000. Venue lies with this Court pursuant to 28

    9    U.S.C. §1391(a), because the events which give rise to this dispute occurred in the District of

   10    Oregon.

   11                                        FIRST CAUSE OF ACTION

   12                                             (Declaratory Relief)

   13             7.       Banette realleges all paragraphs above and incorporates the same by reference.

   14             8.       Defendant issued a liability insurance policy to Banette (policy number ACP

   15    GLAO 7505138102 (the “Policy”)).

   16             9.       The Policy obligates Defendant to indemnify Banette for damages and to defend

   17    Banette in the event of a suit.

   18             10.      Despite its obligations to defend and indemnify Banette, Defendant denied

   19    coverage to Banette.

   20             11.      An actual and justiciable controversy exists between the parties with respect to

   21    coverage under the Policy. Banette therefore requests a declaration and an adjudication of the

   22    rights, duties, and liabilities of the parties regarding Banette’s claims for defense and indemnity

   23    arising from the Underlying Litigation.

   24             12.      Banette seeks a declaration from this court that: (1) Defendant owes Banette a

   25    1
           Multnomah County Circuit Court recently granted Banette’s Motion to Change Venue, and as a result,
   26    the Underlying Litigation will be transferred to Clackamas County Circuit Court.


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    1    duty to defend in the Underlying Litigation; (2) Defendant breached that duty; (3) there are no

    2    exclusions or limitations which apply to abrogate those duties; (4) Defendant must reimburse

    3    Banette for any fees and expenses it has incurred and must immediately undertake the defense of

    4    Banette in the Underlying Litigation; and (5) Defendant must indemnify Banette against all

    5    liability for damages in the Underlying Litigation.

    6                                      SECOND CAUSE OF ACTION

    7                                  (Count I: Breach of Contract – Express)

    8             13.      Banette realleges all paragraphs above and incorporates the same by reference.

    9             14.      Defendant failed to fully accept, acknowledge and undertake its contractual duties

   10    and obligations to Banette with respect to the Underlying Litigation.

   11             15.      Defendant breached its contractual obligations under the Policy by failing or

   12    declining to accept and/or perform its contractual duties and obligations with respect to Banette’s

   13    rights to a defense and payment of Banette’s legal liabilities for damages in the Underlying

   14    Litigation.

   15             16.      Banette has performed all of its obligations and conditions precedent under the

   16    Policy, except any that were waived or excused.

   17             17.      As a direct and proximate result of Defendant’s breaches of the Policy, Banette

   18    was and is deprived of the benefit of insurance coverage provided under the Policy and seeks

   19    damages in an amount to be proven at trial, but which are no less than $200,000.

   20             18.      Banette seeks attorney fees pursuant to ORS 742.061 and pre-judgment interest.

   21                                 (County II: Breach of Contract – Implied)

   22             19.      Banette realleges all paragraphs above and incorporates the same by reference.

   23             20.      The covenant of good faith and fair dealing is implied into the terms of the Policy.

   24             21.      The implied covenant of good faith and fair dealing serves to protect the

   25    reasonable expectations of Banette under the Policy.

   26             22.      The claims brought against Banette in the Underlying Litigation fell within the

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    1    coverage provided by the Policy, and therefore Banette reasonably expected Defendant to

    2    (among other things):

    3                   a. Apply the Policy terms in a manner which preserved Banette’s reasonable
                           expectation of coverage;
    4
                        b. Apply the Policy terms in a manner which treated Banette’s interests at least equal
    5                      to its own; and
    6                   c. Undertake the defense and settlement of the Underlying Litigation in a manner
                           which treated Banette’s interests at least equal to its own.
    7

    8             23.      Defendant breached the implied covenant of good faith and fair dealing by

    9    depriving Banette of the reasonable expectations under the Policy.

   10             24.      As a result of Defendant’s breach of its implied covenant to act in good faith and

   11    deal fairly in its performance under the Policy, Banette seeks damages in an amount to be proven

   12    at trial, but which are no less than $200,000.

   13             25.      Banette has performed all of its obligations and conditions precedent under the

   14    Policy, except any that were waived or excused.

   15             26.      Banette seeks attorney fees pursuant to ORS 742.061 and pre-judgment interest.

   16                                           PRAYER FOR RELIEF

   17             WHEREFORE, Banette prays for judgment against Defendant as follows:

   18             A.       Judgment in its favor;

   19             B.       Damages in the amount of no less than $200,000;

   20             C.       Prejudgment interest;

   21             D.       Attorney fees; and

   22    ///

   23    ///

   24    ///

   25    ///

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    1             E.       Any other relief the court deems just and/or equitable.

    2
         DATED: July 20, 2015                            Respectfully submitted,
    3

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